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       Telephone : 954-524-2820
   4   Facsimile: 954-524-2822
   5   Attorneys for Plaintiff
       Betty Moore through her
   6   attorney in fact Alisha Gore
   7
   8                       UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10                                  EASTERN DIVISION
  11   BETTY MOORE through her attorney          Case No. 5:21-cv-01192-JGB-SHK
       in fact ALISHA GORE, individually
  12   and on behalf of all others similarly     CLASS ACTION
       situated,
  13                              Plaintiff,     JURY TRIAL DEMANDED
  14                                             STIPULATION TO CONTINUE
             v.                                  SCHEDULING CONFERENCE
  15
       LEGION AUTO PROTECTION                    Current Schedule
  16   SERVICES, WALCO FUNDING, LLC              Date: December 27, 2021
       AND CARGUARD                              Time: 11:00 a.m.
  17   ADMINISTRATION, INC.,
                                                 Proposed Scheduled
  18                            Defendants.      Date: February 7, 2022
                                                 Time: 11:00 a.m.
  19
  20
  21
  22         Plaintiff BETTY MOORE through her attorney in fact ALISHA GORE, and
  23   Defendants Walco Funding, LLC and CarGuard Administration, Inc., through their
  24   respective undersigned counsel, hereby respectfully submit the following Joint
  25   Stipulation and (Proposed) Order to request the Court to continue the scheduling
  26   conference from December 27, 2021, at 11:00 a.m. to either February 7 or February
  27   14, 2022.
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   1                                     STIPULATION
   2      1. On November 16, 2021, a Waiver of Service of Summons was executed on
   3   behalf of Defendant Legion Auto Protection Services (“Legion”).
   4      2. Legion’s answer or motion under Rule 12 is due by January 17, 2022.
   5      3. Plaintiff Moore and Defendants Walco and CarGuard, seek to continue the
   6   scheduling conference from December 27, 2021 to either February 7 or 14, 2022.
   7      4. The parties to this stipulation believe that it will be more productive if they
   8   have the opportunity to hold a Rule 26(f) conference with Legion or Legion’s
   9   counsel, to have Legion contribute to the joint scheduling report, and for Legion to
  10   appear at the scheduling conference.
  11      5. Continuing the scheduling conference as requested will serve to promote
  12   Legion’s full participation as described above.
  13      6. In addition, Plaintiff’s counsel resides in Florida and has longstanding plans to
  14   visit with family members who will be visiting from other states from December 25,
  15   2021 through January 1, 2022.
  16      7. The parties have not made any prior request in this action for an extension to
  17   continue scheduling conference.
  18      8. Pursuant to Local Rule 7-1 and 52-4.1, the parties respectfully request the
  19   Court enter the attached (proposed) Order.
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                                                    EDWARDS POTTINGER LLC
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       DATED: November 30, 2021                By: /s/ Seth M. Lehrman
  22                                                Seth M. Lehrman
                                                    Attorneys for Plaintiff
  23                                                Betty Moore through her
                                                    attorney in fact Alisha Gore
  24
  25                                              FREEMAN, FREEMAN & SMILEY,
                                                  LLP
  26   DATED: November 30, 2021                By: /s/ Dawn B. Eyerly
                                                   Dawn B. Eyerly
  27                                               Attorneys for Defendant
                                                   Walco Funding, LLC
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   1   DATED: November 30, 2021                  HOLLAND & KNIGHT LLP
   2                                             By: /s/ Ashley L. Shively
                                                     Ashley L. Shively
   3                                                 Attorneys for Defendant
                                                     CarGuard Administration, Inc.
   4
   5                           SIGNATURE CERTIFICATION
   6         Pursuant to Local Rule 5-4.3.4, I hereby certify that the content of this
   7   document is acceptable to the other signatories Dawn B. Eyerly, attorney for
   8   Defendant Walco Funding, LLC, and Ashley L. Shively, attorney for CarGuard
   9   Administration, Inc. In addition, I attest that the other signatories have authorized
  10   the filing of this document.
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                                          By: /s/ Seth M. Lehrman
  12                                              Seth M. Lehrman
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